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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

SAIFULLAH KHAN                                       :       CIVIL ACTION NO.
     Plaintiff,                                      :       3:19-cv-01966-KAD
                                                     :
V.                                                   :
                                                     :
YALE UNIVERSITY, ET AL.,                             :
     Defendants.                                     :       APRIL 3, 2020

                         MOTION FOR EXTENSION OF TIME
                      TO RESPOND TO PLAINTIFF’S COMPLAINT

       Pursuant to Federal Rule of Civil Procedure 6(b) and Local Rule 7(b), Defendants Yale

University, Peter Salovey, Jonathon Holloway, Marvin Chun, Joseph Gordon, David Post, Mark

Solomon, Ann Kuhlman, Lynn Cooley, Paul Genecin, Stephanie Spangler, Sarah Demers, Carole

Goldberg, and Jane Doe file this Motion requesting that the Court extend the Defendants’ deadline

to respond to Plaintiff’s Complaint from April 7, 2020, to April 28, 2020.

       Defendants have been working to respond to Plaintiff’s Complaint, but the additional time

is necessary to allow Defendants to fully respond to the Complaint in light of the impact that the

ongoing pandemic has had on counsels’ operations. Plaintiff does not object to Defendants’

Motion. This is the second request for an extension of time of this deadline. The requested

extension will not affect any other deadlines established by the Court.
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                                  DEFENDANT JANE DOE,

                             By: /s/ Brendan N. Gooley
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                                  Her Attorneys


                                  DEFENDANTS YALE UNIVERSITY,
                                  PETER SALOVEY, JONATHON
                                  HOLLOWAY, MARVIN CHUN, JOSEPH
                                  GORDON, DAVID POST, MARK
                                  SOLOMON, ANN KUHLMAN, LYNN
                                  COOLEY, PAUL GENECIN, STEPHANIE
                                  SPANGLER, SARA DEMERS, AND
                                  CAROLE GOLDBERG

                              By: /s/Patrick M. Noonan
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                                CERTIFICATION OF SERVICE

       This is to certify that on this 3rd day of April 2020, a copy of the foregoing was filed

electronically. Notice of this filing will be sent by e-mail to all parties by operation of the court’s

electronic filing system.




                                                   /s/Brendan N. Gooley
                                               Brendan N. Gooley




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